Case o-24-OoU0/1-aSt DOC lo-L Fned lifly/24 centered 11/ly/24 LUuiogio6

EXHIBIT “A”
Case o-24-OoU0/1-aSt DOC lo-L Fned lifly/24 centered 11/ly/24 LUuiogio6

EXECUTION COPY

EQUITY SECURITY PURCHASE AGREEMENT

This EQUITY SECURITY PURCHASE AGREEMENT (this “Agreement”) is made
and entered into as of the 1% day of July, 2020, by and between Douglas Belz (“DB”), Stephen
DiMeglio (“SD”) and James Dvorak (“JD”) (DB, SD and JD individually, a “Seller” and
collectively, the “Sellers”), and Meghan LaBella (“ML”) and Al LaBella (“AL”) (ML and AL,
individually, a ’Purchaser” and collectively, the “Purchasers”.

WHEREAS, each of the Sellers owns shares of common stock (“Common Stock”) of Blue
Diamond Sheet Metal, Inc. (“Blue Diamond”), Diam-N-Blue Mechanical Corp. (“Diam-N-Blue”)
and Mirage Mechanical Systems, Inc. (“Mirage”), each a New York corporation, and membership
interests (“Membership Interests”) in Blue Station Realty LLC (“Blue Station”, a New York
limited liability company (the Common Stock and the Membership Interests are referred to herein
as the “Equity Securities” and Blue Diamond, Diam-N-Blue, Mirage and Blue Station are referred
to herein individually as a “Company” and collectively as the “Companies’”’).

WHEREAS, the Sellers desire to sell, and the Purchasers desire to purchase from each of
the Sellers, the number of Equity Securities set forth on Exhibit A attached hereto.

WHEREAS, the Sellers are parties to an amended and restated stockholders agreement,
dated December 22, 2008, with respect to Blue Diamond, Diam-N-Blue and Mirage (such
agreement, the “Stockholders Agreement”) and an Operating Agreement with respect to Blue
Station (the “Operating Agreement”).

WHEREAS, concurrently with the execution of this Agreement, each of the Sellers is
entering into a consulting agreement with the Companies (the “Consulting Agreement’) to be
effective on the Closing Date (as hereinafter defined).

WHEREAS, effective on the Closing Date, ML shall own sixty percent (60%) of the issued
and outstanding Equity Securities of the Companies and AL shall own forty percent (40%) of the
issued and outstanding Equity Securities of the Companies.

NOW, THEREFORE, in consideration of the mutual representations, warranties and
covenants contained herein, the parties hereto agree as follows:

1. Purchase and Sale of the Equity Securities, Subject to the terms and conditions of
this Agreement, the Sellers hereby sell, transfer, convey and deliver to the Purchasers, and the
Purchasers hereby purchase, acquire and accept from the Sellers, all of the Sellers’ right, title and
interest in and to the Equity Securities free and clear of all liens and encumbrances,

905770/v11

BelzO000001
Case o-24-OoU0/1-aSt DOC lo-L Fned lifly/24 centered 11/ly/24 LUuiogio6

2. Purchase Price for the Equity Securities. The consideration to be paid by the
Purchasers for each of the Seller’s Equity Securities shall be $2,850,000 per Seller (the “Purchase
Price”) and shall be paid by the Purchasers to each of the Sellers as set forth on Exhibit A hereto.

3, Payment of Purchase Price, Other Payments,

(a) The Purchase Price shall be paid by the Purchasers at the Closing, as
provided in Section 4 below.

(b) On or prior to the Closing, the Purchasers shall also pay to each Seller (x)
all compensation accrued or income earned by such Seller but unpaid through the Closing Date
and (y) all unpaid distributions from the Companies in respect to all federal, state and local income
taxes owed by such Seller for fiscal 2019 and for fiscal 2020 through the Closing Date.

4, The Closing.

(a) The purchase and sale of the Equity Securities (the “Closing”) shall take
place at such date and place mutually agreed upon by the parties (which time date is designated as
the “Closing Date’). At the Closing, the Sellers shall deliver to the Purchasers (x) the certificate(s)
representing the Common Stock, duly endorsed to the Purchasers, or duly executed stock powers
and (y) assignments of the Sellers’ Membership Interests, in each case against payment of the
Purchase Price therefor by wire transfer of immediately available funds. At the Closing, the Sellers
shall deliver to the Purchasers the Sellers’ resignations as employees, directors and officers of the
Companies, effective as of the Closing Date.

(b) The obligations of (x) each party to effectuate the Closing shall be subject
to no statute, rule or regulation having been enacted or promulgated by any governmental authority
which prohibits the consummation of the Closing and no order or injunction of a court of
competent jurisdiction being in effect precluding consummation of the Closing; (y) the Sellers to
effectuate the Closing shall be subject to (i) the Purchasers’ representations and warranties
contained in this Agreement being true and correct at the Closing and the Purchasers having
performed and complied with all covenants and agreements required by this Agreement to be
performed or complied with by them at or prior to the Closing, (ii) the termination of any guarantee
given by any of the Sellers in connection with the operation of the business of the Companies
before, on or after the Closing Date, (iii) the transfer to the Sellers of title to the automobiles
identified on Exhibit B hereto (without further payment by the Sellers except as set forth on Exhibit
B) and (iv) the assignment io the Sellers (without further payment by the Sellers except for
premiums due on or after the Closing) of the insurance policies described in Section 5(a) of the
Stockholders Agreement; and (z) the Purchasers to effectuate the Closing shall be subject to the
Sellers’ representations and warranties contained in this Agreement being true and correct at the
Closing and the Sellers having performed and complied with all covenants and agreements
required by this Agreement to be performed and complied with by them at or prior to the Closing.

Belz0000002
Case o-24-OoU0/1-aSt DOC lo-L Fned lifly/24 centered 11/ly/24 LUuiogio6

5. Representations and Warranties

(a) Each Seller hereby represents and warrants to the Purchaser as follows:

(1) Such Seller has full power, authority and capacity to enter into this
Agreement and to carry out the transactions contemplated hereby. This Agreement constitutes the
valid and binding obligation of such Seller, enforceable against such Seller in accordance with its
terms.

(2) The execution and delivery of this Agreement by such Seller and the
consummation by such Seller of the transactions contemplated hereby do not, and with notice or
the passage of time or both, will not (i) violate any statute, rule, regulation, order or decree of any
public body or authority to which such Seller, or such Seller’s assets or properties are bound; (11)
result in a violation or breach of, or constitute a default under, any lease, loan, license, franchise,
permit, indenture, agreement or other instrument to which such Seller, or any of such Seller’s
assets or properties, are bound; and (iii) require such Seller to obtain any consent, approval or
action of or waiver from, or make any filing with, or give any notice to, any person or entity,
governmental or otherwise.

(3) Such Seller is the sole, legal and beneficial owner of the Equity
Securities, and has all right, title and interest in the Equity Securities to permit such Seller to sell and
transfer full, legal and beneficial title to the Purchasers free and clear of all liens and encumbrances
pursuant to Section 1 of this Agreement. Such Seller’s Equity Securities represent such Seller’s
entire ownership interest in the Companies, including economic interest, capital interest, capital
account, voting interest, governance interest, and any other interest such Seller may have in the
Companies. Such Seller has not pledged, assigned, or transferred or agreed to pledge, assign, or
transfer, such Seller’s Equity Securities or any part thereof to any other person or entity other than
the Purchasers pursuant to this Agreement,

(4) Such Seller is not a party to any action or proceeding before any
governmental authority and, to the knowledge of such Seller, there is no action or proceeding that has
been threatened against such Seller or the Companies that impairs the ability of such Seller to perform
the obligations required of such Seller under this Agreement.

(5) No broker, finder, or investment banker is entitled to any brokerage,
finder’s, or other fee or commission in connection with the transactions contemplated by this
Agreement based upon arrangements made by or on behalf such Seller.

(b) Each Purchaser hereby represents and warrants to the Sellers as follows:

(1) Such Purchaser has the full legal right, power and authority to
execute and deliver this Agreement, and to consummate the transactions contemplated hereby.
This Agreement constitutes the legal, valid and binding obligation of such Purchaser, enforceable
against such Purchaser in accordance with its terms.

Belz0000003
Case o-24-OoU0/1-aSt DOC lo-L Fned lifly/24 centered 11/ly/24 LUuiogio6

(2) Except as expressly set forth herein, such Purchaser has not relied
upon any representation, warranty, promise or assurance made by or on behalf of any Seller with
respect to the value of the Companies or of the Equity Securities.

(3) The execution and delivery of this Agreement and the
consummation of the transactions contemplated hereby do not, and with notice or the passage of
time or both, will not (i) violate any statute, rule, regulation, order or decree of any public body or
authority to which such Purchaser, or such Purchaser’s assets or properties are bound; (11) result in
a violation or breach of, or constitute a default under, any lease, loan, license, franchise, permit,
indenture, agreement or other instrument to which such Purchaser, or any of such Purchaser’s
assets or properties, are bound; and (iii) require such Purchaser to obtain any consent, approval or
action of or waiver from, or make any filing with, or give any notice to, any person or entity,
governmental or otherwise.

(4) Such Purchaser is fully familiar with the Companies, their assets,
operations, valuation and financial condition, and has received all information relevant to such
Purchaser’s decision to purchase the Equity Securities as such Purchaser has deemed necessary or
appropriate (including the Valuations), and such Purchaser has had sufficient opportunity to ask
questions of and receive answers from management of the Companies with respect to such matters.
Neither the Sellers nor anyone on behalf of the Sellers has induced such Purchaser to sign this
Agreement or purchase the Equity Securities by making any promises, representations or
agreements that are not expressly set forth in this Agreement. For purposes of this Section 5(b)(4),
“Valuations” means the (x) Reliant Business Valuation of Blue Diamond, Diam-N-Blue and
Mirage dated April 20, 2020, (y) Reliant Equipment Appraisal of the machinery and equipment of
Blue Diamond, Diam-N-Blue and Mirage dated April 6, 2020, and (z) R.D. Geronimo Ltd.
Appraisal Report dated April 3, 2020 of the market valuation of the one story building located at
1165 Station Road, Medford, NY 11763.

(5) Such Purchaser is not a party to any action or proceeding before any
governmental authority and, to the knowledge of such Purchaser, there is no action or proceeding that
has been threatened against such Purchaser or the Companies that impairs the ability of such
Purchaser to perform the obligations required of such Purchaser under this Agreement.

(6) No broker, finder, or investment banker is entitled to any brokerage,
finder’s, or other fee or commission in connection with the transactions contemplated by this
Agreement based upon arrangements made by or on behalf such Purchaser,

6. Indemnification,

(a) From and after the Closing Date, each Seller and each Purchaser agrees,
severally and not jointly, to indemnify and hold harmless the Purchasers (in the case of the Sellers)
and the Sellers (in the case of the Purchasers) from any and all damages, claims, losses, costs,
liabilities or expenses, including reasonable attorneys’ fees (collectively, “Losses”), that a party
may incur by reason of any other party’s breach of this Agreement or by reason of the untruth or
inaccuracy of any of the breaching party’s representations, warranties, covenants or agreements
contained herein. In addition, from and after the Closing Date, the Purchasers and the Companies

Belz0000004
Case o-24-OoU0/1-aSt DOC lo-L Fned lifly/24 centered 11/ly/24 LUuiogio6

agree, jointly and severally, to indemnify and hold harmless each of the Sellers for any and all
Losses that such Seller may incur by reason of the operation of the business of one or more of the
Companies at any time on or after the Closing Date, including as the result of any guarantee given
by such Seller in connection therewith. Notwithstanding the foregoing, in no event shall a party
be liable under this Section 6 for any punitive, special, consequential or indirect damages,
including without limitation damages from lost profits.

(b) All representations and warranties made herein shall survive the Closing
Date for a period of eighteen (18) months. The covenants and other agreements contained in this
Agreement shall survive ithe Closing Date for the period contemplated thereby. All claims for
indemnification under this Section (6) must be asserted on or prior to the expiration of the
applicable representation, warranty or covenant giving rise to such Losses.

(c) Each party’s obligations under this Agreement are unconditional and not
subject to defense, counterclaims, setoff(s), or offset and no party shall have any right to withhold
from and/or offset against any amounts due to any other party, pursuant to this Agreement, the
amount of any claims against such party under this Section 6 or otherwise.

(d) —_ In the absence of fraud or willful misconduct, the indemnification rights of
the parties under this Section 6 shall be the exclusive rights and remedies the parties may have at
law or in equity or otherwise with respect to matters subject to indemnification for any
misrepresentation, breach of warranty or failure to fulfill any agreement or covenant hereunder on
the part of any party hereto,

7 Mutual Release.

{a) Release by Sellers, From and after the Closing Date, each of the Sellers on
his own behalf and on behalf of his heirs, beneficiaries, successors, assigns, agents, and
representatives (collectively, the “Sellers’ Releasing Parties”), do hereby covenant not to sue, and
acknowledge complete satisfaction of and hereby release, absolve and forever discharge,
Purchasers and the Companies, and each of their affiliates, subsidiaries, heirs, beneficiaries,
successors, assigns, members, owners, officers, agents, and representatives (hereinafter
collectively referred to as “Purchaser Releasees”) with respect to and from any and all claims,
demands, liens, agreements, contracts, covenants, actions, suits, causes of action, obligations,
debts, expenses, attorneys’ fees, damages, dues, sums of money, accounts, reckonings, bonds,
bills, specialties, controversies, promises, variances, trespasses, costs, extents, executions,
judgments, orders and liabilities of whatever kind or nature in law, equity or otherwise, whether
now known or unknown, suspected or unsuspected, that the Sellers’ Releasing Parties now own or
hold or have at any time heretofore owned or held as against said Purchaser Releasees, or any one
of them, except excluded from the foregoing release are obligations of any nature whatsoever
arising and to be performed on or after the Closing Date by any of the Purchaser Releasees under
this Agreement or such Seller’s Consulting Agreement,

(b) Release by Purchasers and the Companies. From and after the Closing
Date, each of the Purchasers and the Companies, on their own behalf and on behalf of their heirs,
beneficiaries, successors, assigns, agents, affiliates, subsidiaries, members, owners, officers,
agents, and representatives (collectively, the “Purchaser Releasing Partics”), do hereby covenant

Belz0000005
Case o-24-OoU0/1-aSt DOC lo-L Fned lifly/24 centered 11/ly/24 LUuiogio6

not to sue, and acknowledge complete satisfaction of and hereby release, absolve and forever
discharge, each Seller, and each of their heirs, beneficiaries, successors, assigns, agents, and
representatives (hereinafter collectively referred to as “Seller Releasees”) with respect to and from
any and all claims, demands, liens, agreements, contracts, covenants, actions, suits, causes of
action, obligations, debts, expenses, attorneys’ fees, damages, dues, sums of money, accounts,
reckonings, bonds, bills, specialties, controversies, promises, variances, trespasses, costs, extents,
executions, judgments, orders and liabilities of whatever kind or nature in law, equity or otherwise,
whether now known or unknown, suspected or unsuspected, that the Purchaser Releasing Parties
now own or hold or have at any time heretofore owned or held as against said Seller Releasees, or
any one of them, except excluded from the foregoing release are obligations of any nature
whatsoever arising and to be performed on or after the Closing Date by any of the Seller Releasees
under this Agreement or each Seller’s Consulting Agreement.

8, Covenants,

(a) Confidentiality.

(1) Each Seller will, at all times from the Closing Date, keep
confidential all Information made known to such Seller by the Purchasers or the Companies prior
to the Closing Date, and such Seller will not, directly or indirectly, disclose or divulge during such
time, except for the benefit and only at the request of the Companies, any such Information,

(2) Information and all patents, trademarks, trade names, copyrights,
inventions, all applications therefor and all other intellectual property nghts of the Companies
(“Intellectual Property”) shall at all times be and remain the sole property of the Companies for
their sole and exclusive use and benefit, and each Seller agrees to deliver all documents, notes,
drawings and analyses containing or reflecting such Information and Intellectual Property to the
Companies at any time upon request of the Companies.

(3) “Information” means (i) any confidential and proprietary
information relating to the business or businesses of the Companies, including any proprietary
information pertaining to actual or potential clients of the Companies, including the identity of
each client, and (ii) documents and information regarding the Companies’ methods of operation,
marketing strategy, client or client lists, specialized training procedures, forms, computer
programs, secret or confidential techniques, methods, processes, equipment, books, notes,
drawings, tapes, prints, profit and loss information and other related internal business information
and documents pertaining to the affairs of the Companies; provided, however, that “Information”
shall not include information that pertains solely to personal matters relating to such Seller, and
provided further that “Information” shall not include any information that (x) is or becomes
generally available to the public other than as a result of an unauthorized disclosure, (y) becomes
available to a Seller on a non-confidential basis from a source other than the Purchasers or the
Companies, provided such source did not disclose such information in breach of any
confidentiality obligation known by any Seller, or (z) is required to be disclosed pursuant to
applicable law, subpoena, order by a court, or by a governmental body, provided that each Seller
shall notify the Companies promptly and in writing of any such disclosure requirement.

Belz0000006
Case o-24-OoU0/1-aSt DOC lo-L Fned lifly/24 centered 11/ly/24 LUuiogio6

(b) Non-Disparagement.

(1) Each Seller agrees not to make any statement which is intended, or
would reasonably be expected, to harm the Companies and/or the Purchasers or their reputations
and shall not disparage the Companies and/or the Purchasers personally, professionally or in their
business activities, in any statement (whether oral or written) made to any third party.

(2) | The Companies and Purchasers agree not to make any statement
which is intended, or would reasonably be expected, to harm the Sellers and shall not, disparage
the Sellers personally, professionally or in their business activities, in any statement (whether oral
or written) made to any third party.

(3) Notwithstanding the foregoing, nothing in this Section or elsewhere
in this Agreement shall prohibit any party from making any statement or disclosure which such
party shall have been advised by counsel in writing is required under the federal or state securities
laws or other applicable laws or pursuant to subpoena or the order of a governmental authority;
provided that such party shall provide written notice to the other parties at least five (5) business
days (or, if five (5) days is not possible, then as promptly as reasonably possible) prior to making
any such required statement or disclosure,

(c) Blue Pencil. Each subsection of this Section 8 is independent of each other
subsection, and the invalidity of any subsection shall have no effect on the validity or effectiveness
of any other subsection. In the event that any of the provisions of Section 8 relating to the period
of restriction shall be deemed to exceed the maximum period of time which a court or arbitration
tribunal of competent jurisdiction would deem valid and enforceable, said period shall be deemed
to be revised to the minimum extent which a court or arbitration tribunal of competent jurisdiction
would deem necessary for such provision to be enforceable in any state in which such court of
competent jurisdiction shall be convened,

9. Further Assurances. From time to time, the parties shall execute and deliver to each
other such additional documents and shall provide such additional information as any party may
reasonably require to perform the terms of this Agreement.

10. Notices, Any notices, consents or information required, requested or permitted by
this Agreement shall be sent to the parties at the addresses below, unless such address is changed
by written notice hereunder:

If to the Purchasers: Meghan LaBella
Al LaBella
79 Handsome Avenue
Sayville, NY 11782
Email; mlabella@bdsgheetmetal.com
Email: albella@bdssheetmetal.com

Belz0000007
Case 0-24-0600 /1-ast

DOC lo-t Filed Lifly/24 = entered t1/Ly/24 LUologio6

With a copy to (which shall not constitute notice):

If to the Sellers:

Campolo, Middleton & McCormick, LLP
4175 Veterans Memorial Highway
Ronkonkoma, NY 11779

Attention: Joseph N. Campolo, Esq.
Facsimile: (631) 738-0659

Email: jcampolo@cmmilp.com

Douglas Belz

22S, Gillette Avenue

Bayport, NY 11705

Email: rbelz@dnbmechanical.com

Stephen DiMeglio

755 Harbor Lane

Cutchogue, NY 11935

Email: sdimeglio@dnbmechanical.com

James Dvorak

179 Oakwood Avenue

Bayport, NY 11705

Email: jdvorak(@dnbmechanical.com

With a copy to (which shall not constitute notice):

11. Binding Effect, Assignment and Entire Agreement. This Agreement constitutes the
entire agreement between the parties with respect to the subject matter hereof and supersedes all
prior agreements and understandings, whether oral or written, may not be modified or amended
except by an instrument in writing signed by the party or parties against whom enforcement is
sought, shall bind and inure to the benefit of the parties hereto and their respective permitted
successor and assigns, and may not be assigned without the prior written consent of the other
parties hereto,

12. Legend. Each certificate representing the Equity Securities may bear the following
legend printed conspicuously on the face or backside thereof:

Ruskin Moscou Faitischek, P.C.
East Tower, 15th Floor

1425 RXR Plaza

Uniondale, NY 11556-1425
Attention: Adam P. Silvers, Esq,
Facsimile: (516) 663-6719
Email: asitvers@érmfpc.com

“THE TRANSFER, SALE, ASSIGNMENT, ENCUMBRANCE
OR OTHER CONVEYANCE OF SHARES OF COMMON

Belz0000008
Case o-24-OoU0/1-aSt DOC lo-L Fned lifly/24 centered 11/ly/24 LUuiogio6

STOCK REPRESENTED BY THIS CERTIFICATE IS SUBJECT
TO THE TERMS AND CONDITIONS OF A STOCKHOLDER
AGREEMENT, DATED DECEMBER 22, 2008, AS AMENDED
FROM TIME TO TIME, A COPY OF WHICH IS ON FILE AT
THE OFFICE OF THE COMPANY.”

“THE TRANSFER, SALE, ASSIGNMENT, ENCUMBRANCE
OR OTHER CONVEYANCE OF MEMBERSHIP INTERESTS
REPRESENTED BY THIS CERTIFICATE IS SUBJECT TO THE
TERMS AND CONDITIONS OF AN OPERATING
AGREEMENT, DATED AS OF , AS AMENDED
FROM TIME TO TIME, A COPY OF WHICH IS ON FILE AT
THE OFFICE OF THE COMPANY.”

13. Severability. Any provision of this Agreement which is deemed to be invalid or
unenforceable shall be ineffective only to the extent of such invalidity or unenforceability without
invalidating or rendering unenforceable the remaining provisions hereof.

14. Counterparts. This Agreement may be executed in any number of counterparts,
each of which shall be deemed an original and all of which taken together shall constitute one and
the same agreement, A signed copy of this Agreement delivered by facsimile, e-mail or other
means of electronic transmission shall be deemed to have the same legal effect as delivery of an
original signed copy of this Agreement.

15. Changes Must Be In Writing, No delay or omission by any Seller or Purchaser in
exercising any right shall operate as a waiver of such right or any other right. This Agreement may
not be altered, amended, changed, modified, waived or terminated in any respect or particular
unless the same shall be in writing signed by the parties hereto. No waiver by any party hereto of
any breach hereunder shall be deemed a waiver of any other or subsequent breach.

16. Governing Law; Jurisdiction, This Agreement shall be governed by and construed
in accordance with the laws of the State of New York, excluding its choice of law principles. If
any provisions of this Agreement shall be unenforceable or invalid, such unenforceability or
invalidity shall not affect the remaining provisions of this Agreement, Each party hereto consents
to the exclusive personal jurisdiction of the State of New York, and further agrees that the
exclusive venue for any action arising out of this Agreement shall be the State Courts located in
the County of Suffolk, State of New York or the Federal Courts located in the Eastern District of
New York.

17. Waiver of Jury Trial. EACH PARTY HEREBY WAIVES, TO THE FULLEST
EXTENT PERMITTED BY APPLICABLE LAW, ANY RIGHT IT MAY HAVE TO A TRIAL
BY JURY IN RESPECT TO ANY LITIGATION DIRECTLY OR INDIRECTLY ARISING OUT
OF, UNDER OR IN CONNECTION WITH THIS AGREEMENT OR ANY TRANSACTION
CONTEMPLATED HEREBY. EACH PARTY (J) CERTIFIES THAT NO
REPRESENTATIVE, AGENT OR ATTORNEY OF ANY OTHER PARTY HAS
REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PARTY WOULD

BelzGOG0009
Case o-24-OoU0/1-aSt DOC lo-L Fned lifly/24 centered 11/ly/24 LUuiogio6

NOT, IN THE EVENT OF LITIGATION, SEEK TO ENFORCE THE FOREGOING WAIVER
AND (1) ACKNOWLEDGES THAT IT AND THE OTHER PARTIES HERETO HAVE BEEN
INDUCED TO ENTER INTO THIS AGREEMENT BY, AMONG OTHER THINGS, THE
MUTUAL WAIVERS AND CERTIFICATIONS IN THIS SECTION,

18. No Third Party Beneficiaries. No person, entity, firm, organization not a party to
this Agreement shall be entitled to rely upon or enforce any of the provisions of this Agreement,

19. Representation by Counsel; Interpretation. The parties hereto acknowledge that
they have been represented by counsel in connection with this Agreement and the transactions
contemplated hereby. Accordingly, any rule or law or any legal decision that would require the
interpretation of any claimed ambiguities in this Agreement against the party or parties that drafted
it has no application and is expressly waived by the parties hereto. The provisions of this
Agreement shall be interpreted in a reasonable manner to give effect to the intent of the parties
hereto.

20. Sales, Transfer and Documentary Taxes. The Purchasers shall pay all federal, state
and local sales, documentary and other transfer taxes, if any, due as a result of the purchase, sale
and transfer of the Equity Securities in accordance herewith, whether imposed by law on the Sellers
or the Purchasers, and the Purchasers shall jointly and severally indemnify, reimburse and hold
harmless the Sellers in respect of the liability for payment of or failure to pay any such taxes or
the filing of or failure to file any reports required in connection therewith.

21. Schedules K-1 for 2019. The Purchasers shall cause each of the Companies to
deliver to the Sellers a Schedule K-1 for the 2020 tax year prepared in a manner and substance
consistent with prior years, such Schedules K-1 to be delivered not later than six (6) months after
the end of the Company’s fiscal year. The Sellers shall not be allocated any operating results of
any of the Companies for any period on or after the Closing Date.

22. Legal Fees; Prevailing Party Legal Fees. The Companies shall pay al! reasonable
legal and accounting fees and expenses incurred by the Sellers in connection with the negotiation,
execution and delivery of this Agreement and the Consulting Agreements and the consummation
of the transactions contemplated hereby and thereby. The prevailing party in any dispute that arises
out of or relates to the making or enforcement of the terms of this Agreement or any Consulting
Agreement shall be entitled to receive an award of such party’s expenses incurred in pursuit or
defense of said claim(s), including reasonable attorneys’ fees and costs, incurred in such action,

23. Indemnification of Officers, Directors and Members. From and after the Closing
Date, the Purchasers shall cause the Companies, to the fullest extent permitted by applicable law,
to indemnify, defend and hold harmless, and provide advancement of expenses to, each Seller who
is now, or has been at any time prior to the date hereof or who becomes prior to the Closing Date,
an officer, director, employee or member of any of the Companies (each, a “D&O Indemnified
Party”), against all losses, claims, damages, costs, expenses, liabilities or judgments or amounts
that are paid in settlement of or in connection with any claim, action, suit, proceeding or
investigation based in whole or in part on or arising in whole or in part out of the fact that such
Seller is or was an officer, director, employee or member of any of the Companies, and pertaining

10

Belz0000010
Case o-24-OoU0/1-aSt DOC lo-L Fned lifly/24 centered 11/ly/24 LUuiogio6

to any matter existing or occurring, or any acts or omissions occurring, at or prior to the Closing,
whether asserted or claimed prior to, or at or after, the Closing Date (including matters, acts or
omissions occurring in connection with the consummation of the transactions contemplated
hereby) to the same extent that such Seller is indemnified or has the right to advancement of
expenses as of the date hereof by any of the Companies pursuant to their respective organizational
documents in existence on the date hereof with any D&O Indemnified Party.

24, Consents, Approvals and Waivers. If the consummation of the transactions
contemplated by this Agreement requires the consent, approval or waiver by any party hereto under
any provisions of the Stockholders Agreement or the Operating Agreement, then the execution of
this Agreement by such party shall constitute the grant by such party of such consent, approval or
waiver it being the intention of the parties hereto that no further consent, approval or waiver under
the Stockholders Agreement or the Operating Agreement shall be required to consummate the
transactions contemplated by this Agreement.

25. Stockholders Agreement and Operating Agreement. From and after the Closing
Date, notwithstanding the terms thereof, the Sellers shall cease to be subject to any terms or
provisions of the Stockholders Agreement or the Operating Agreement. For the avoidance of
doubt, from and after the Closing Date the Sellers shall not be subject to the provisions of Section
4 of the Stockholders Agreement and the provisions of such Section 4 may not be enforced against
the Sellers.

26. Diam-N-Blue 401(k) Plan. During the term of the Consulting Agreements, unless
prohibited by applicable law, the Purchasers shall take such action as shall be necessary to provide
that DB or a member of his family designated by DB shall be the broker of record for the Diam-
N-Blue 401(k) Plan.

27, +Tax and Accounting Services. The Companies shall pay for each of the Sellers’
reasonable tax and accounting fees and expenses incurred by such Seller in connection with all tax
returns required to be filed by such Seller for all calendar years during which such Seller was an
equityholder of any of the Companies.

[Signature page follows]

11

Belz0000011
Case o-24-OoU0/1-aSt DOC lo-L Fned lifly/24 centered 11/ly/24 LUuiogio6

IN WITNESS WHEREOF, the parties hereto have duly executed this Agreement as of this
1* day of July, 2020.

PURCHASERS:
Megfian LaBella
Al LaBell

SELLERS: ee
Douglas Belz
Stephen DiMeglio

James Dvorak
COMPANIES (for purposes of Sections 6, 7(b), 8(b), 23, 24, 25, 26 and 27 only)

BLUE DIAMOND SHEET METAL, INC

By:
Name: Al GiBell¢
Title: Vice President

DIAM-N-BLU “7 0,

By:
Name: Al LaBella
Title: Vice President

MIRAGE MEC | * oo

By:

Name: Al LaBella
Title: Vice President

BLUE STATION REALTY LLC

oy
Name: Meghan LaBetla

Title: Authorized Member

[Equity Security Purchase Agreement Signature Page]

12

Belz0000012
Case o-24-OoU0/1-aSt DOC lo-L Fned lifly/24 centered 11/ly/24 LUuiogio6

IN WITNESS WHEREOTF, the parties hereto have duly executed this Agreement as of this
1" day of July, 2020.

PURCHASERS:

Meghan LaBella

Al LaBella

SELLERS:

Toms Dvorak

COMPANIES (for purposes of Sections 6, 7(b), 8(b), 23, 24, 25, 26 and 27 only)
BLUE DIAMOND SHEET METAL, INC,
By:

Name: Al LaBella
Title: Vice President

DIAM-N-BLU MECHANICAL CORP.

Byz
Name: Al LaBella
Title: Vice President

MIRAGE MECHANICAL SYSTEMS, INC,

Byt
Name: Al LaBella
Title: Vice President

BLUE STATION REALTY LLC

By:
Name: Meghan LaBella
Title: Authorized Member

[Equity Security Purchase Agreement Signature Page]

12

Belz0000013
Case 0-24-0600 /1-ast

DOC lo-t Filed Lifly/24 = entered t1/Ly/24 LUologio6

EXHIBIT A
Blue Diamond
Purchasers Agoregate
Name No. of Shares ML AL Purchase Price
Belz 10 5 5 $1,125,000
DiMeglio 10 5 5 $1,125,000
Dvorak 10 4 6 $1,125,000
Diam-N-Blu
Purchasers Ageregate
Name No. of Shares ML AL Purchase Price
Belz 5 2.5 2.5 $225,000
DiMeglio 5 2.5 2.5 $225,000
Dvorak 5 2 3 $225,000
Mirage
Purchasers Aggregate
Name No. of Shares ML AL Purchase Price
Belz 10 5 5 $25,000
DiMeglio 10 5 5 $25,000
Dvorak 10 4 6 $25,000
13

Beiz0000014
Case 0-24-0600 /1-ast

Blue Station

DOC lo-t Filed Lifly/24 = entered t1/Ly/24 LUologio6

Percentage Purchasers Aggregate
Name Interest ML AL Purchase Price
Belz 25 12.5 12,5 $1,475,000
DiMeglio 25 12.5 12.5 $1,475,000
Dvorak 25 10.0 15.0 $1,475,000
14

Belz0000015
Case 0-24-0600 /1-ast

Douglas Belz,

2012 Lincoln Navigator

2011 Honda Ridgeline

Stephen DiMeglio

2016 Range Rover (lease to be assumed by Stephen DiMeglio)

2011 Honda Ridgeline

James Dvorak
2010 Jeep Liberty

2007 Honda Ridgeline

DOC lo-L Filed 11/19/24

EXHIBIT B

Automobiles

15

entered Llilsiz4 1LOla9700

Belz0000016
